     Case: 1:17-cv-07073 Document #: 54 Filed: 07/08/18 Page 1 of 2 PageID #:166



                         THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHRISTY MCCURDY,                                     )
                                                     )
                PLAINTIFF,                           )       Case No. 17-cv-07073
                                                     )
v.                                                   )       Judge Jorge L. Alonso
                                                     )
GRANT & WEBER, INC.,                                 )
                                                     )
                DEFENDANT.                           )

                  MOTION FOR LEAVE TO WITHDRAW APPEARANCE

        I, the undersigned attorney, pursuant to Local Rule 83.17, respectfully requests leave to

withdraw my appearance on behalf of Plaintiff Christy McCurdy (“Plaintiff”).

        I have ended my employment at the law firm of Community Lawyers Group, Ltd.

Celetha C. Chatman and Michael J. Wood of Community Lawyers Group, Ltd. will remain

counsel for Plaintiff. Allowing my appearance to be withdrawn will not delay or cause prejudice

to any party in this litigation.

        WHEREFORE, I, Sarah M. Barnes, respectfully request leave to withdraw my

appearance on behalf of Plaintiff.


                                                     Respectfully submitted,

                                                     /s/Sarah M. Barnes
                                                     Sarah M. Barnes (6320267)
                                                     Lesser Lutrey Pasquesi & Howe, LLP
                                                     191 E Deerpath, Suite 300
                                                     Lake Forest, Illinois 60645
                                                     Ph: (847) 295-8800
                                                     barnes@llphlegal.com




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    Case: 1:17-cv-07073 Document #: 54 Filed: 07/08/18 Page 2 of 2 PageID #:167



                                 CERTIFICATE OF SERVICE

        I, an attorney, hereby certify that on July 8, 2018, I caused to be electronically filed the
foregoing MOTION FOR LEAVE TO WITHDRAW APPEARANCE with the Clerk of the
Court using the CM/ECF system which will send notification of such filing to all counsel of
record.

                                                               /s/Sarah M. Barnes
                                                               Sarah M. Barnes




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